Case 5:21-cv-00066-TTC          Document 22        Filed 12/09/21     Page 1 of 8      Pageid#: 132




                                      UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF VIRGINIA
                                            Harrisonburg Division

      MEGAN WHITTINGTON,                              )
                                                      )
                Plaintiff                             )
                                                      )
      v.                                              )      Civil Action No.: 5:21-CV-66
                                                      )
      THE SHENANDOAH COUNTY                           )
      COMMONWEALTH OF VIRGINIA,                       )
      et al,                                          )
                                                      )
                Defendants                            )


                               DEFENDANT SCDSS’S MEMORANDUM
                               IN SUPPORT OF MOTION TO DISMISS

                Defendant Shenandoah County Department of Social Services (SCDSS), by counsel, files

      this memorandum in support of its motion to dismiss filed pursuant to Fed. R. Civ. P. 12(b)(1),

      12(b)(6), and 17, and states as follows:

                Plaintiff filed this lawsuit against SCDSS and others arising out of the alleged removal of

      her minor son from her home and various state judicial proceedings pertaining to same. She asserts

      claims under the First, Fifth, and Fourteenth Amendments as well as 18 U.S.C. § 241. Defendant

      SCDSS moves to dismiss the claims against it as it is not an entity subject suit and as an arm of the

      state is entitled to Eleventh Amendment immunity.

                                                   ARGUMENT

           I.       Standard of Review.

                A motion to dismiss under Rule 12(b)(1) tests the court's subject matter jurisdiction over a

      plaintiff's claim. The plaintiff bears the burden of establishing that jurisdiction exists. Evans v. B.F.

      Perkins Co., 166 F.3d 642, 647 (4th Cir. 1999). When a defendant makes a facial challenge to subject
Case 5:21-cv-00066-TTC          Document 22       Filed 12/09/21      Page 2 of 8      Pageid#: 133




      matter jurisdiction based upon the allegations in the complaint, the Rule 12(b)(6) standard applies:

      the facts alleged in the complaint are taken as true. Kerns v. United States, 585 F.3d 187,192 (4th Cir.

      2009). However, if a defendant challenges the factual predicate of subject matter jurisdiction, the

      trial court may consider evidence without converting the proceeding to one for summary judgment.

      Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982). The burden of proving subject matter

      jurisdiction in this circumstance is on the plaintiff, the party asserting jurisdiction. Id.        The

      presumption of truthfulness normally accorded a complaint's allegations does not apply, and the

      district court is entitled to decide disputed issues of fact with respect to subject matter jurisdiction.

      Kerns, 585 F.3d at 192.

             A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the plaintiff’ s

      complaint to determine if it has properly stated a claim. Edwards v. City of Goldsboro, 178 F.3d

      231, 243 (4th Cir. 1999). A complaint fails to state a claim upon which relief can be granted when

      no relief is available under any set of facts that could be proven consistent with the allegations of

      the complaint. Swierkiewicz v. Suprema N.A., 534 U.S. 506, 514, 122 S. Ct. 992 (2002). In

      determining the sufficiency of a complaint, Rule 8 requires that a plaintiff plead more than

      unadorned, the-defendant-unlawfully-harmed-me-accusations. Ashcroft v. Iqbal, 556 U.S. 662, 678,

      129 S. Ct. 1937 (2009). A pleading that offers labels or conclusions or a formulaic recitation of the

      elements of a cause of action is insufficient. Id. The claim must be plausible on its face. Id. The

      plaintiff must plead factual content that allows the court to draw the reasonable inference that the

      defendant is liable for the misconduct alleged. Id. Plaintiff must plead more than a sheer possibility.

      Id. Naked assertions devoid of further factual enhancement are insufficient to meet the pleading

      standard in Rule 8. Id.; U.S. ex rel. Oberg v. Penn. Higher Educ. Assistance Agency, 745 F.3d 131,

      136 (4th Cir. 2014); Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th

                                                         2
Case 5:21-cv-00066-TTC        Document 22        Filed 12/09/21      Page 3 of 8      Pageid#: 134




      Cir. 2009). Facts that are merely consistent with a defendant’ s liability fall short of the pleading

      standard. Iqbal, 556 U.S. at 678. The tenet that a court must accept as true all of the allegations

      contained in a complaint is inapplicable to legal conclusions. Id. Threadbare recitals of the

      elements of a cause of action, supported by mere conclusory statements, do not suffice. Id . __

         II.      The SCDSS is not an entity that has the capacity to be sued.

               In order for a claim to be plausible under the Iqbal-Twombly pleading standard, it must be

      asserted against an entity that has the capacity to be sued. Braxton v. Wythe Cty. Dep't of Soc. Servs.,

      No. 7:19CV00718, 2020 U.S. Dist. LEXIS 3640, at *1-2 (W.D. Va. Jan. 9, 2020). Whether a

      governmental body is an entity capable of being sued is a matter of state law. Avery v. County of

      Burke, 660 F.2d 111, 113-14 (4th Cir. 1981); Fed. R. Civ. P. 17(b)(1).

               In Virginia, an operating division of a governmental entity cannot be sued unless the

      legislature has vested the operating division with the capacity to be sued. Muniz v. Fairfax Cty. Police

      Dep't, No. 1:05cv466, 2005 U.S. Dist. LEXIS 48176, at *4 (E.D. Va. Aug. 2, 2005) (dismissing

      Fairfax Police Department since the Code of Virginia did not provide that the FPD could be sued as

      a separate entity it was not capable of being sued) aff’d 185 F. App'x 230 (4th Cir. 2006)(per curiam);

      see also, Ross v. Franklin Cty. Dep't of Soc. Servs., 186 F. Supp. 3d 526, 534 (W.D. Va.

      2016)(dismissing county department of social services as lacking the capacity to be sued).

      Specifically, the enabling statutes for local departments of social services do not delegate to them the

      power to be sued. See Va. Code Ann. § 63.2-324 (local departments of social services are under the

      supervision and management of a local director); Id. §§ 63.2-325, 63.2-332 (the local board of social

      services appoints and supervises the local director); Id. § 63.2-332 (the local director has the powers

      and performs the duties outline by law).




                                                         3
Case 5:21-cv-00066-TTC          Document 22        Filed 12/09/21      Page 4 of 8     Pageid#: 135




                Consistent with prior decisions in this District, the SCDSS should be dismissed as it lacks the

      capacity to be sued. See Braxton, 2020 U.S. Dist. LEXIS 3640, at *1-2 (dismissing claims against

      the Wythe County Department of Social Services las it acks the capacity to be sued); Ross, 186 F.

      Supp. 3d at 534 (dismissing claims against the Franklin County Department of Social Services as it

      lacks the capacity to be sued).

         III.      The claims against SCDSS are barred by the Eleventh Amendment.

                The claims against SCDSS concern the alleged removal of plaintiff’s minor son from her

      home which she claims violated the First, Fifth, and Fourteenth Amendments, as well 18 U.S.C. §

      241. The claims against SCDSS should be dismissed under the Eleventh Amendment as SCDSS is

      considered to be an arm of the Commonwealth and is not a local governing body or a “person subject

      to suit under 42 U.S.C. §1983. See Scott v. Wise Cty. Dep't of Soc. Servs., No. 2:20CV00014, 2020

      U.S. Dist. LEXIS 191272, at *5 (W.D. Va. Oct. 15, 2020) (holding that the Wise County Department

      of Social Services is entitled to Eleventh Amendment immunity); Doe v. Mullins, No. 2:10CV00017,

      2010 U.S. Dist. LEXIS 74080, at *4 (W.D. Va. July 22, 2010) (holding that the Wise County

      Department of Social Services is not a "person" for the purpose of seeking damages under § 1983).

                The Eleventh Amendment bars lawsuits brought against states. See Edelman v. Jordan, 415

      U.S. 651, 663, 94 S. Ct. 1347, 39 L. Ed. 2d 662 (1974). The Eleventh Amendment defense is in the

      nature of a jurisdictional bar so that it need not be raised in the trial court. Id. 415 U.S. at 678; see

      also Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 480 (4th Cir. 2005)

      (Eleventh Amendment immunity has attributes of both subject-matter jurisdiction and personal

      jurisdiction). The purpose of the Eleventh Amendment is to prevent the indignity of subjecting a state

      to the coercive process of judicial tribunals at the instance of private parties. Puerto Rico Aqueduct

      & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 144-45, 121 L. Ed. 2d 605, 113 S. Ct. 684

                                                           4
Case 5:21-cv-00066-TTC         Document 22        Filed 12/09/21      Page 5 of 8       Pageid#: 136




      (1993). This jurisdictional bar applies regardless of the nature of the relief sought, including equitable

      remedies. Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100, 104 S. Ct. 900, 908 (1984)

             A public entity, other than the state, may be entitled to immunity if, in its operations, the state

      is the real party in interest. Ram Ditta v. Md. Nat'l Capital Park & Planning Com., 822 F.2d 456, 457

      (4th Cir. 1987). To be the real party in interest, the state need not be named as a defendant. Id. It is

      only necessary that the named party be the alter ego of the state. Id. In Ram Ditta, the Fourth Circuit

      articulated a four-part test to determine whether an entity is immune under the Eleventh Amendment.

      See Id. at 456. The most important consideration is whether the state treasury will pay any judgment

      that might be awarded. Id. at 457. The other three factors that the court is to consider are whether the

      state entity exercises a significant degree of autonomy from the state; whether it is involved with

      local versus state-wide concerns; and how it is treated as a matter of state law. Id. at 457-58.

             It has long been the law in the Fourth Circuit that in Virginia, local departments of social

      services are entitled to Eleventh Amendment immunity. See Bockes v. Fields, 999 F.2d 788, 791

      (4th Cir. 1993) (holding that the Grayson County Department of Social Services is immune from

      suit in federal court under the Eleventh Amendment). With respect to the primary factor, the law is

      clear that any judgment against SCDSS or its employees would be paid out of the state treasury.

      See Bockes v. Fields, 999 F.2d 788, 791 (4th Cir. 1993). By statute, the Commonwealth funds a risk

      management plan for political subdivisions of the Commonwealth, which is administered by the

      Department of the Treasury, Division of Risk Management (DRM). Va. Code Ann. § 2.2-1839. The

      plan protects against liability imposed by law for damages against the Commonwealth’s political

      subdivisions. Id. The DRM assumes sole responsibility for plan management and compliance. Id.

      The DRM provides for the legal defense of the plan members and a trust fund is established for

      payment of claims covered under such plan. Id. Funds are invested in this trust according to Va.

                                                          5
Case 5:21-cv-00066-TTC          Document 22       Filed 12/09/21     Page 6 of 8      Pageid#: 137




      Code Ann. § 2.2-1806, which provides for the investment of funds in the state treasury. Id. Thus,

      since claims against SCDSS are paid from a trust funded by the state treasury, the Virginia

      Department of Treasury would be responsible for paying any judgment which would result from an

      action.

                The other three factors laid out in Ram Ditta also support the conclusion that the SCDSS is

      immune under the Eleventh Amendment. Under Virginia law, local departments of social services

      are required to perform child welfare services subject to the direction of the State Commissioner of

      Social Services and in accord with regulations adopted by the State Board of Social Services. Va.

      Code Ann. § 63.2-319. The supervision of local social services departments is entrusted to the

      Commissioner of Social Services and the State Board of Social Services. Wolf v. Fauquier Cty. Bd.

      of Supervisors, 555 F.3d 311, 321 (4th Cir. 2009). Local social service boards and their

      corresponding departments administer social services locally, "[s]ubject to the supervision of the

      Commissioner [of Social Services] and in accordance with the regulations passed by the State

      Board" of Social Services. Fields v. Prater, 566 F.3d 381, 383 (4th Cir. 2009). Indeed, local

      directors are considered the agents of the Commissioner. Id.; Va. Code Ann. § 63.2-333. Local

      directors who do not meet personnel standards established by the State Board can be removed by

      the Commissioner. Fields, 566 F.3d at 383; Va. Code Ann. § 63.2-327.

                This high degree of state control and the corresponding lack of local department autonomy,

      combined with the payment of any judgment out of the state treasury, compels a finding that

      SCDSS acts as an arm of the state and is entitled to Eleventh Amendment immunity.




                                                         6
Case 5:21-cv-00066-TTC        Document 22        Filed 12/09/21      Page 7 of 8      Pageid#: 138




                                                 CONCLUSION

             For the foregoing reasons, Defendant SCDSS respectfully requests that this Court dismiss

      the claims against it with prejudice and afford it such other and further relief as this Court deems

      appropriate.


                                                    SHENANDOAH COUNTY DEPARTMENT
                                                    OF SOCIAL SERVICES

                                                    By Counsel


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                                         CERTIFICATE OF SERVICE

             I hereby certify that on December 9, 2021, I have electronically filed this document with the
      Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
      following:

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                                                         7
Case 5:21-cv-00066-TTC                Document 22    Filed 12/09/21   Page 8 of 8   Pageid#: 139




             I hereby certify that I have mailed by United States Postal Service the document to the
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